 Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 1 of 25   PageID #: 1




CLARE E. CONNORS #7936
United States Attorney               SEALED                                FILED IN THE
                                                                  UNITED STATES DISTRICT COURT
                                                                       DISTRICT OF HAWAII

District of Hawaii                   BY ORDER OF THE COURT              Jul 21, 2022
                                                                  Pam Hartman Beyer, Clerk of Court



THOMAS MUEHLECK #3591
Assistant U.S. Attorney
Room 6100, PJKK Federal Building
300 Ala Moana Blvd.
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Facsimile: (808)541-2958
E-mail: Tom.Muehleck@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                ) MAG. NO. 22-1259 RT
                                         )
                 Plaintiff,              ) CRIMINAL COMPLAINT;
                                         ) AFFIDAVIT
      vs.                                )
                                         )
WALTER GLENN PRIMROSE, (01)              )
  aka "Bobby Edward FORT"                )
                                         )
GWYNN DARLE MORRISON, (02)               )
  aka "Julie Lyn MONTAGUE"               )
                                         )
                 Defendants.             )
                                         )


                        CRIMINAL COMPLAINT




                              SBU -LAW ENFORCEMENT
 Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 2 of 25           PageID #: 2




      I, the undersigned complainant, being duly sworn, state the following is true

and correct to the best of my knowledge and belief.

                                COUNT ONE
                (Conspiracy to Commit Offense Against the U.S.)

      On or about 28 August 2018, within the District of Hawaii, the defendants,

Walter Glenn PRIMROSE, and Gwynn Darle MORRISON, did knowingly and

willfully conspire and agree with each other to commit an offense against the U.S.

government, that is, to willfully and knowingly make false, fictitious, and

fraudulent statements, and representations in a matter within the jurisdiction of the

U.S. Department of Defense, in violation of 18 U.S.C. § 1001, all in violation of

Title 18, United States Code, Section 371.

                                 COUNT TWO
                           (Aggravated Identity Theft)

      On or about 28 August 2018, within the District of Hawaii, the defendants,

Walter Glenn PRIMROSE (AKA Bobby Edward FORT), and Gwynn Darle

MORRISON (AKA Julie Lyn MONTAGUE), did knowingly possess and use

without lawful authority, a means of identification of another person, during and in

relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), to wit, 18 U.S.C

§ 1001, that is, the defendants knowingly and willfully made materially false,

fictitious, and fraudulent statements or representations in a matter within the

jurisdiction of the U.S. Department of Defense, knowing that the means of


                                          2
                               SBU -LAW ENFORCEMENT
 Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 3 of 25           PageID #: 3




identification belonged to another actual person, in violation of Title 18, United

States Code, Section 1028A(1).

                                COUNT THREE
               (False statement in application and use of passport)

        On or about 04 April 2014, within the District of Hawaii, the defendant

Walter Glenn PRIMROSE (AKA Bobby Edward FORT), did willfully and

knowingly use and furnish to another, a passport that was secured by reasons of

false statements made in the application therefor, which falsely stated that the

person depicted in the passport photograph was Bobby Edward FORT, when in

fact the person was the defendant, which said passport the defendant used to obtain

a Hawaii Driver’s License, in violation of Title 18, United States Code, Section

1542.

                                  COUNT FOUR
                    (False statement in application for passport)

        On or about 08 April 2016, within the District of Hawaii, the defendant,

Gwynn Darle MORRISON (AKA Julie Lyn MONTAGUE), willfully and

knowingly made a false statement in an application for a passport renewal with

intent to induce and secure for her own use, the issuance of a passport under the

authority of the United States, contrary to the laws regulating the issuance of such

passports, and the rules prescribed pursuant to such laws, in that in such

application the defendant identified herself as “Julie Lyn MONTAGUE,” which


                                          3
                                SBU -LAW ENFORCEMENT
 Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 4 of 25          PageID #: 4




statement she knew to be false, in violation of Title 18, United States Code,

Section 1542.

      I further state that I am a Special Agent with the United States Department

of State, Diplomatic Security Service and that this complaint is based upon the

facts set forth in the attached “Agent’s Affidavit in Support of Criminal

Complaint,” which is incorporated herein by reference.




                                       DENNIS K. THOMAS
                                       Special Agent
                                       U.S. Department of State
                                       Bureau of Diplomatic Security Service

Sworn to under oath before me telephonically, and attestation
acknowledge pursuant to FRCP 4.1(b)(2), on this 21st day of July 2022, at
Honolulu, Hawaii.




                             Andrade
                            Rom A. Trader
                            United States Magistrate Judge




                                          4
                               SBU -LAW ENFORCEMENT
 Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 5 of 25          PageID #: 5




I, Dennis Thomas, being duly sworn, state as follow:

                            Affiant Background

            1.     I am a Special Agent with the U.S. Department of State,

      Diplomatic Security Service (DSS), currently assigned to the Honolulu

      Resident Office. I have been employed with the Department of State as a

      Special Agent since March 2011. I have attended and completed the

      Criminal Investigative Training Program at the Federal Law Enforcement

      Training Center. In addition, I completed the Department of State’s Bureau

      of Diplomatic Security Basic Special Agent Training Course. Prior to my

      employment with the Department of State, I was a Criminal Investigator in

      the United States Army, where I independently conducted criminal

      investigations into violations of the Uniform Code of Military Justice, and

      federal laws. Furthermore, I am assigned as a Taskforce Officer to the

      Honolulu Federal Bureau of Investigation Field Office. I hold a Bachelor of

      Science in Criminal Justice. During my employment with the Department of

      State, I have investigated violations of, among other things, Title 18, United

      States Code, § 1542: False Statement on Application and use of Passport;

      Title 18, United States Code, § 1028A: Aggravated Identity Theft, and Title

      18, United States Code, § 371: Conspiracy to commit offense or to defraud

      United States.


                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 6 of 25         PageID #: 6




                                           Purpose

          2.     This affidavit establishes probable cause to arrest Walter Glenn

    PRIMROSE (AKA: Bobby Edward FORT), and Gwynn Darle MORRISON

    (AKA Julie Lyn MONTAGUE), for conspiracy to commit an offense against

    the U.S. in violation of 18 U.S.C § 371; Aggravated Identity Theft, in

    violation of 18 U.S.C. § 1028A; and False statement in application and use

    of passport, in violation of 18 U.S.C. § 1542. It is alleged that PRIMROSE

    and MORRISON agreed and conspired to make false statements in a matter

    within the jurisdiction of the U.S. Department of Defense by unlawfully

    assuming the identities of deceased persons Bobby Edward FORT, and Julie

    Lyn MONTAGUE, respectively. Using the unlawfully assumed identities,

    PRIMROSE and MORRISON applied for and were issued U.S. passports,

    DOD identity document cards, and social security account cards, using the

    name of the deceased persons, Bobby Edward FORT, and Julie Lyn

    MONTAGUE. PRIMROSE and MORRISON both knowingly and willfully

    used and possessed, without lawful authority, the means of identification of

    another person, in connection with unlawful activity that constitutes a

    violation of Federal laws.

          3.     The facts set forth below are based upon my knowledge and

    personal observations, as well as information and documents provided to me


                                       2
                            SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 7 of 25            PageID #: 7




    in my official capacity concerning the activities of a Walter Glenn

    PRIMROSE (AKA Bobby Edward FORT and Gwynn Darle MORRISON

    (AKA Julie Lyn MONTAGUE). This affidavit does not contain every fact,

    piece of information or evidence concerning the alleged violations.

                        Passports in General and Statutory Authority

          4.     The Passport Act of 1926, as amended, was in full force and

    effect throughout the period of this investigation. This Act, codified in 22

    U.S.C. § 211a, authorized the United States Secretary of State to grant and

    issue United States passports under rules prescribed by the President and/or

    other federal laws. Some of these rules are that a person wanting a United

    States passport must complete and submit an application to the State

    Department and must submit proof of American citizenship, usually a birth

    certificate, and proof of identity, usually a driver’s license, with their

    application. Another rule allows designated officers at United States Post

    Offices and City Clerk Offices to accept passport applications, and to then

    forward them to the State Department for processing. In the event of a

    renewal of a U.S. passport, a DS-82, U.S. Passport Renewal Application for

    Eligible Individuals is completed and mailed in with the expired passport as

    proof of identity and citizenship.




                                         3
                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 8 of 25          PageID #: 8




          5.     To obtain a U.S. passport, the applicant must be a United States

    citizen and legally entitled to receive a U.S. passport. The applicant must

    show proof of identity and United States citizenship at the time of the

    application. All information and evidence submitted in connection with a

    passport application is considered part of the application. Before submitting

    the Application for a U.S. Passport, form DS-11, the applicant was required

    to read the following statement:

          6.     “I declare under penalty of perjury all of the following: 1) I am

    a citizen or non-citizen national of the United States and have not, since

    acquiring U.S. citizenship or nationality, performed any of the acts listed

    under "Acts or Conditions" on page four of the instructions of this

    application (unless explanatory statement is attached); 2) the statements

    made on the application are true and correct; 3) I have not knowingly and

    willfully made false statements or included false documents in support of

    this application; 4) the photograph attached to this application is a genuine,

    current photograph of me; and 5) I have read and understood the warning on

    page one of the instructions to the application form.”

          7.     After reading the statement, the applicant must sign their name

    in the space provided immediately under the statement, this act swearing and

    affirming that all information on the application is true and correct and that


                                        4
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 9 of 25          PageID #: 9




    they understand the warning. It is only after the applicant signs the form that

    the applicant is accepted for processing and a passport issued based on the

    information and supporting documents contained within the application

                                   PROBABLE CAUSE

                                            Overview

          8.     The United States, including the U.S. Department of State,

    Bureau of Diplomatic Security Service (DSS) and the Federal Bureau of

    Investigation (FBI) is conducting an investigation of Walter Glenn

    PRIMROSE (AKA Bobby Edward FORT) and Gwynn Darle MORRISON

    (AKA Julie Lyn MONTAGUE) regarding possible violations of Title 18,

    United States Code, Section 371 (Conspiracy to commit an offense against

    the U.S), Section 1028A (Aggravated identity theft), and Section 1542

    (False statement in application and use of passport).

          9.     During this investigation, your affiant obtained a verification of

    birth facts record from the Shelby County Texas Registrar’s office,

    associated with Walter Glenn PRIMROSE. Records revealed that Walter

    Glenn PRIMROSE was born on XX/XX/1955 in Shelby County, Texas.

    PRIMROSE was born to a Betty Marie Hayes, and Cecil Eugene Primrose.

    Additionally, your affiant obtained a verification of birth facts associated

    with Gwynn Darle MORRISON. Records revealed that Gwynn Darle


                                        5
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 10 of 25        PageID #: 10




     MORRISON was born on XX/XX/1955, in Fort Belvoir, Virginia to a

     Cyrial Morrison and Anna Weber.

           10.   Moreover, your affiant obtained school records from Calhoun

     high school, in Port Lavaca, TX that revealed PRIMROSE and MORRISON

     both attended the same high school from 1970 to 1973. Further, your affiant

     obtained school records associated with Stephen F. Austin University, in

     Nacogdoches, TX that revealed Walter Glenn PRIMROSE and Gwynn

     Darle MORRISON both attended the university from 1976 to 1979.

           11.   Your affiant obtained records from Nacogdoches, TX County

     Clerk’s office that revealed PRIMROSE and MORRISON married each

     other on 19 August 1980, in Nacogdoches, TX. Commercial database

     records indicated that PRIMROSE and MORRISON both resided together in

     Nacogdoches, TX during this time. FBI obtained open-source records from

     the city of Nacogdoches that revealed PRIMROSE and MORRISON

     purchased a home together on 21 December 1981 in Nacogdoches, TX and

     owned the home until it was foreclosed by the bank on 06 October 1987.

           12.   Investigation efforts revealed that in 1987, PRIMROSE and

     MORRISON both obtained Texas birth certificate records for deceased

     American born infants, that they used to unlawfully assume the identifies of

     “Bobby Edward FORT” and “Julie Lyn MONTAGUE,” respectively.


                                       6
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 11 of 25          PageID #: 11




     Specifically, PRIMROSE obtained a birth certificate record for Bobby

     Edward FORT, born XX/XX/1967, in Dallas, TX, to Charolette Fort.

     Furthermore, MORRISON obtained a Texas birth certificate record for Julie

     Lyn MONTAGUE, born XX/XX/1968, in Burnet, TX, to John Montague

     and Doralene Casey.

           13.    Records obtained from the Texas Bureau of Vital Statistics

     revealed that Bobby Edward FORT, born XX/XX/1967, in Dallas, TX, to

     Charolette Fort died on XX/XX/1967. I received a copy of a death certificate

     in the name of Bobby Edward FORT. The death certificate revealed that

     Bobby Edward FORT died XX/XX/1967, and the listed cause of death was

     asphyxia. Also listed on the death certificate was the location of burial,

     which was specified as City Cemetery, in Marble Falls, TX.

           14.    Moreover, records obtained from the Texas Bureau of Vital

     Statistics revealed that Julie Lyn MONTAGUE born XX/XX/1968, in

     Burnet, TX, to John Montague and Doralene Casey, died on XX/XX/1968,

     in Burnet, TX. I received a copy of a death record in the name of Julie Lyn

     MONTAGUE. The death certificate revealed that Julie Lyn MONTAGUE

     died on XX/XX/1968, and the location of burial was specified as Burnet

     Cemetery, in Burnet, TX. Bobby FORT was found to be buried in City




                                        7
                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 12 of 25         PageID #: 12




     Cemetery, located in Marble Falls TX, which is approximately 14 miles

     from where Julie MONTAGUE is buried.

           15.    Records obtained from the Texas Department of Public Safety

     revealed that on 25 August 1987 PRIMROSE was issued a Texas driver’s

     license number XXXX0889 in the Bobby Edward FORT identity. The

     records also included copies of the driver’s licenses that were issued to

     PRIMROSE over the years in the Bobby FORT identity. The person

     depicted in the photograph associated with Texas driver’s license number

     XXXX0889, in the Bobby FORT name, strongly resembles PRIMROSE.

           16.    Additionally, records obtained from the Texas Department of

     Public Safety revealed that on 10 September 1987 MORRISON was issued a

     Texas identification card number XXXX0253 in the Julie Lyn MONTAGUE

     identity. The person depicted in the photograph associated with Texas

     identification card number XXXX0253 in the Julie MONTAGUE name,

     strongly resembles MORRISON.

           17.    Records obtained from the Social Security Administration

     revealed that on 30 September 1987, PRIMROSE executed an application

     for social security card (SS-5) form using the personal identifiable

     information belonging to the “Bobby Edward FORT” identity. As a result of

     providing false information on the SS-5 form, PRIMROSE was issued social


                                        8
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 13 of 25         PageID #: 13




     security account number XXX-XX-9136, in the “Bobby Edward FORT”

     identity.

           18.    Additionally, records obtained from the Social Security

     Administration revealed that on 26 October 1987, MORRISON executed an

     SS-5 application form using the personal identifiable information belonging

     to the “Julie Lyn MONTAGUE” identity. As a result of providing false

     information on the SS-5 form, MORRISON was issued social security

     account number XXX-XX-3279, in the “Julie Lyn MONATGUE” identity.

           19.    Records obtained during this investigation revealed that within

     a six-month period, PRIMROSE and MORRISON had successfully assumed

     the identities of “Bobby Edward FORT’ and “Julie Lyn MONTAGUE,”

     respectively. Further, records obtained by your affiant revealed that

     PRIMROSE and MORRISON re-married each other on 08 August 1988

     under their respective assumed identities (Bobby FORT and Julie

     MONTAGUE), in Austin, TX.

                     Military Records and Government Employment

           20.    Your affiant obtained records from the U.S. Coast Guard

     Investigative Service, which revealed that PRIMROSE fraudulently enlisted

     into the U.S. Coast Guard on XX/XX/1994, in the identity of “Bobby

     Edward FORT.” Of note, PRIMROSE represented himself to U.S. Coast


                                        9
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 14 of 25           PageID #: 14




     Guard officials as Bobby Edward FORT, born XX/XX/1967, instead of in

     his true identity and date of birth of XX/XX/1955. PRIMROSE represented

     himself to be approximately 12 years younger than his true age at time of his

     Coast Guard enlistment. Records revealed that PRIMROSE served in the

     U.S. Coast Guard from 1994 to 2016, twenty years in the fraudulently

     obtained identity of Bobby Edward FORT.

           21.   Your affiant obtained records that revealed PRIMROSE retired

     from the U.S. Coast Guard in 2016, and in that same year began working for

     U.S. Company 1, a Department of Defense (DOD) contractor, where he

     continues to work currently.

                                    Passport Issuance

           22.   U.S. Department of State database records revealed that

     PRIMROSE has been issued a total of five (5) U.S. passports in the Bobby

     FORT identity. Specifically, PRIMROSE has been issued three (3) blue

     tourist passport books, and two (2) U.S. government official passport books

     in the Bobby FORT identity. Records revealed that PRIMROSE executed

     U.S. passport applications using the following personal identifiable

     information of Bobby Edward FORT: social security number XXX-XX-

     9136, date of birth as XX/XX/1967, and place of birth as Dallas, Texas, but

     submitting a picture of his own likeness on the following dates:


                                        10
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 15 of 25      PageID #: 15




        • 08 November 1996

        • 28 August 2001

        • 03 October 2006

        • 19 February 2009

        • 12 February 2016

           23.   PRIMROSE’s most recent U.S. passport, #540772719 was

     issued to him on 23 February 2016, in the identity of “Bobby Edward

     FORT.” The passport is valid until 22 February 2026.

           24.   Further, U.S. Department of State records revealed that on 28

     April 1987, PRIMROSE was issued U.S. passport number H0930146 in the

     name Walter Glenn PRIMROSE, date of birth XX/XX/1955. The person

     pictured on U.S. passport number H0930146 strongly resembles the same

     person pictured on U.S. passport number 540772719, in the name of “Bobby

     Edward FORT.” Additionally, U.S. Department of State records revealed

     that on 30 March 1999, PRIMROSE executed a DS-82 Passport Application

     using his identity (Walter PRIMROSE) and provided the following personal

     identifiable information: social security number XXX-XX-3261, date of

     birth as XX/XX/1955, and place of birth as Timpson, Texas. As a result,

     PRIMROSE was issued a U.S. passport on 7 April 1999. Of note, at time of




                                      11
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 16 of 25          PageID #: 16




     issuance, PRIMROSE had already been issued a valid U.S. passport in the

     identity of “Bobby Edward FORT.”

           25.     Additionally, U.S. Department of State database records

     revealed that MORRISON has been issued a total of three (3) U.S. passports

     in the Julie MONTAGUE identity. Specifically, MORRISON has been

     issued three (3) blue tourist passport books in the Julie MONTAGUE

     identity. Records revealed that MORRISON executed U.S. passport

     applications using the following personal identifiable information of Julie

     Lyn MONTAGUE: social security number XXX-XX-3279, date of birth as

     XX/XX/1968, and place of birth as Burnet, Texas, but submitting a picture

     of her own likeness on the following dates:

                 • 08 November 1996

                 • 04 October 2006

                 • 08 April 2016

           26.     Specifically, on 08 April 2016, in the District of Hawaii,

     MORRISON executed a DS-82 (#274423371), U.S. Passport Renewal

     Application, and mailed it to the National Passport Center in Portsmouth,

     NH. MORRISON used the following personal identifiable information of

     Julie Lyn MONTAGUE: social security number XXX-XX-3279, date of

     birth as XX/XX/1968, and place of birth as Burnet, Texas, but submitting a


                                        12
                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 17 of 25        PageID #: 17




     picture of her own likeness. As result, MORRSION was issued U.S.

     passport number 543812582, on 20 April 2016 with an expiration date of 19

     April 2026.

                                  Hawaii Driver’s License

           27.     I received a copy of Bobby Edward FORT’s (PRIMROSE)

     Hawaii driver’s license records from the Hawaii Department of

     Transportation. Records revealed that on 04 April 2014 PRIMROSE

     executed a Hawaii driver's license application renewal form in Honolulu, HI

     in the Bobby Edward FORT identity. As part of his renewal application,

     PRIMROSE used his fraudulently obtained U.S. passport, issued to him as

     Bobby Edward FORT, as proof of his identity. I received a copy of the

     biodata page associated with the U.S. passport PRIMROSE used to execute

     his Hawaii driver’s license application renewal form in the Bobby Edward

     FORT identity.

           28.     The information contained on the biodata page corresponds

     with the information contained in the U.S. Department of State database

     associated with the U.S. Passport PRIMROSE used to execute his Hawaii

     driver’s license application. Furthermore, the person pictured on the passport

     that PRIMROSE submitted with his Hawaii driver's license application

     strongly resembles "Bobby Edward FORT," and appears to be the same


                                       13
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 18 of 25         PageID #: 18




     person pictured in U.S. Department of State Database records associated

     with U.S. passport information for Bobby Edward FORT, born

     XX/XX/1967.

           29.    Furthermore, records obtained from the Hawaii Department of

     Transportation revealed that on 03 March 2022, PRIMROSE executed a

     Hawaii driver's license application renewal form in Honolulu, HI in the

     Bobby Edward FORT identity. As part of his renewal application,

     PRIMROSE used his fraudulently obtained social security account card,

     number XXX-XX-9136, issued in the Bobby FORT identity, and his

     fraudulently obtained DOD identification card, number 1133731470. As a

     result of using the means of identification of another person, PRIMROSE

     was re-issued a Hawaii drives license in the Bobby Edward FORT identity.

           30.    Additionally, records obtained from the Hawaii Department of

     Transportation revealed that on 04 January 2017, MORRISON (AKA

     MONTAGUE) executed a Hawaii Driver's license application renewal form

     in Honolulu, HI. As part of her renewal application, MORRISON used her

     fraudulently obtained U.S. passport, issued to her as Julie MONTAGUE, as

     proof of identity. I received a copy of the biodata page associated with the

     U.S. passport used to execute her Hawaii driver’s license application

     renewal form. The information contained on the biodata page corresponds


                                        14
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 19 of 25         PageID #: 19




     with the information contained in the U.S. Department of State database

     associated with U.S. Passport MORRISON used to execute her Hawaii

     driver’s license. Moreover, as part of her renewal application, MORRISON

     used her fraudulently obtained social security account card, number XXX-

     XX-3279, issued in the Julie MONTAGUE identity.

                       DOD Identification card issuance conspiracy

           31.    It was the object of the conspiracy to fraudulently obtain, use,

     and possess a DOD identification card by PRIMROSE and MORRISON, to

     which they both conspired and agreed with each other to provide false

     statements in a matter within the jurisdiction of the U.S. Department of

     Defense, in violation of 18 U.S.C. § 1001, and did use the means of

     identification of another person in order to obtain a DOD identification

     document, in violation of 18 U.S.C § 371.

                          Manner and Means of the Conspiracy

           32.    It was part of the conspiracy that PRIMROSE and MORRISON

     engaged in a scheme, by which, they both unlawfully assumed the identities

     of deceased United States citizens and obtain the means of identification of

     another person. Specifically, PRIMROSE and MORRISON knew that the

     names, dates and places of births, and social security numbers of Bobby

     Edward Fort and Julie Lyn Montague did not legally belong to them, and


                                        15
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 20 of 25        PageID #: 20




     were otherwise secured unlawfully, with intent to be used for their own

     personal use in furtherance of their fraud scheme.

                                             Overt Act

           33.   Your affiant obtained records and obtained information from

     the Hawaii Army National Guard Office, in Kapolei, HI that revealed on 28

     August 2018, PRIMROSE and MORRISON presented themselves to the

     DOD ID card office located in the Hawaii National Guard building, in

     Kapolei, HI where they conspired together to execute an application for

     identification card/DEERS (Defense Enrollment Eligibility Reporting

     System) enrollment form. In section I of the form, titled “Sponsor/Employee

     Information,” PRIMROSE used the personal identifiable information

     belonging to Bobby Edward FORT. Specifically, PRIMROSE identified

     himself on the form as “Bobby E FORT,” DOB XX/XX/1967, and DOD ID

     #1133731470. PRIMROSE signed the form in the presence of a DOD

     verifying official. Above the signature block where PRIMROSE signed the

     form is the following statement:

           “I certify the information provided in connection with the eligibly

           requirements of this form is true and accurate to the best of my

           knowledge.”




                                        16
                             SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 21 of 25       PageID #: 21




           34.    On the same application for identification card/DEERS

     enrollment form, in section V of the form, titled “Dependent Information”

     MORRISON used the personal identifiable information belonging to Julie

     MONTAGUE. Specifically, MORRISON identified herself on the from as

     ‘Julie L MONTAGUE,” DOB XX/XX/1968, and DOD ID# 1133731489.

     MORRISON signed the form in the presence of a DOD verifying official.

           35.    I believe based on the records and information provided by the

     Hawaii Army National Guard office that PRIMROSE and MORRISON

     agreed and conspired with each other to knowingly and willfully provide

     false information and use the means of identification of another person while

     executing an application for identification card/DEERS enrollment form,

     and as a result, MORRISON was issued a DOD identification card bearing

     the personal identifiable information of “Julie Lyn MONTAGUE,” but

     depicting a picture of her own likeness.

                                            Summary

           36.    Records obtained by your affiant revealed that PRIMROSE and

     MORRISON have agreed to assume the identities of deceased American-

     born infants and have been fully living in these fraudulently assumed

     identities since 1987.




                                       17
                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 22 of 25          PageID #: 22




           37.    Based on my training, experience, and the facts listed above,

     the true Bobby Edward FORT and Julie Lyn MONTAGUE died on

     XX/XX/1967, and XX/XX/1968, respectively, and are not the same

     individuals who executed an application for identification card/DEERS

     enrollment form in the identities of FORT and MONTAGUE. Moreover,

     PRIMROSE is not the rightful owner of the personal identifiable

     information associated with “Bobby Edward FORT,” which PRIMROSE

     has successfully used over the past 30 years to obtain government

     documents that he continues to use and possess in the District of Hawaii.

     Further, MORRISON is not the rightful owner of the personal identifiable

     information associated with “Julie Lyn MONTAGUE,” which MORRISON

     has successfully used over the past 30 years to obtain government

     documents that she continues to use and possess in the District of Hawaii.

           38.    From my training and experience, imposters often search

     cemeteries for infants with dates of death close to their own birth dates to

     more easily assume their identities. PRIMROSE and MORRISON both

     obtained a certificate of birth in 1987 and were issued social security

     account numbers in 1987 for their respective assumed identities, and have

     been perpetrating criminal fraud acts ever since, to include acts committed in

     the District of Hawaii.


                                        18
                               SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 23 of 25           PageID #: 23




                                          Conclusion

           39.    Based on the information and evidence detailed in this

     Affidavit, I believe probable cause exists that Walter Glenn PRIMROSE and

     Gwynn Darle MORRISON violated the aforementioned U.S. criminal

     statues and as such, I respectfully request a warrant for their arrest. Walter

     Glenn PRIMROSE is uniquely and specifically described in Attachment A-

     1, and further displayed. Gwynn Darle MORRISON is uniquely and

     specifically described in Attachment A-2, and further displayed.




                                                    Dennis Thomas
                                                    Special Agent
                                                    Diplomatic Security Service
                                                    Honolulu Resident Office
                                                    808-225-0248
     This Criminal Complaint and Affidavit in support thereof were presented to, approved by,
     and probable cause to believe that the defendant above-named committed the charged
     crime found to exist by the undersigned Judicial Officer at 2:56 p.m. on July 21, 2022.

     Sworn to under oath before me telephonically, and attestation
     acknowledge pursuant to FRCP 4.1(b)(2), on this 21st day of July 2022, at
     Honolulu, Hawaii.



                                 Andrade
                                Rom A. Trader
                                United States Magistrate Judge

                                         19
                              SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 24 of 25   PageID #: 24




                           ATTACHMENT A-1




           Walter Glenn PRIMROSE aka Bobby Edward FORT

Height: 5 feet 6 inches tall
Hair: Brown hair
Eyes: Brown eyes
Occupation: U.S. Company 1, a DOD Third-party government contractor




                           SBU -LAW ENFORCEMENT
Case 1:22-mj-01259-RT Document 1 Filed 07/21/22 Page 25 of 25   PageID #: 25




                               ATTACHMENT A-2




Gwynn Darle MORRISON aka Julie Lyn MONTAGUE

Height: 5 feet 4 inches tall
Hair: Brown hair
Eyes: Blue eyes
Occupation: Unemployed




                                     2
